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  AO 91 (Rev. 11/1 1) Criminal Complaint


                                   UNITED STATES DISTRICT COURT                                                  F!'
                                                               forthe
                                                     Western District of Texas                    21;g
                                                                                                          AUG 23
                                                                                                                             f   II:
                                                                                                                                       S9

                  United States of America                       )                                               '
                              v.                                 )                                3y
                                                                 )               Case No.
                                                                                                                     QLt -
          Nestor Cristobal PEREZ-Hinojosa                            )
                          Defendant(s)



                                                  CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best   of my knowledge and belief.
                                             August 21, 2019                in the county of            El Paso                             in the
On or about the date(s) of
    Western           District of               Texas            ,   the defendant(s) violated:

            Code Section                                                         Offense Description

18 U.S.C. 1546(a)                             When applying for admission to the United States, did knowingly personate
                                              another and attempt to evade immigration laws by appearing under an assumed or
                                              fictitious name.




        This criminal complaint is based on these facts:




             Continued on the attached sheet.


                                                                                                            az        t'ssignature

                                                                                               Sandra Perez-AIva
                                                                                             CBP Enforcement Officer
                                                                                                       Printed name and title

Sworn to before me and signed in my presence.


Date:   August 23, 2019
                                                                                                     Judge 's signature
                    El Paso, Texas                                                                 Robert F. Castaneda
City and state:
                                                                            om              United States Magistrate Judge
                                                Oa                                                Printed name and title
                                                       LJ!_PM
                                                               .1 (bX2XA)
                                                 Fed g.CnrnP.4
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                                                   FACTS

On or about August 21, 2019, the DEFENDANT, Nestor Cristobal PEREZ-Hinojosa, a native and citizen and of
Mexico, applied for admission into the United States via primary pedestrian at the Paso Del Norte of Entry, in
El Paso, Texas. The DEFENDANT presented to Customs and Border Protection (CBP) Officer A. Corralez, a
Border Crosser (DSP-ISO) card bearing the name and photograph of another person and represented himself to
be that person. The Officer noticed the DEFENDANT's hand were shaking and avoided eye contact. The
Officer observed facial discrepancies between the DEFENDANT and the person depicted on the DSP- 150
provided. The Officer asked the DEFENDANT if the document he presented belonged to him and the
DEFENDANT replied yes. The Officer asked the DEFENDANT where he was going. The DEFENDANT
replied he was coming to El Paso, Texas to shop. The Officer asked the DEFENDANT for another form of
identification and the DEFENDANT stated he did not have one. The Officer asked the DEFENDANT where he
had applied for the DSP-iSO. The DEFENDANT stated he had applied for the DSP- 150 in Ciudad Juarez but
could not remember the name of the offices or where they were. The Officer referred the DEFENDANT to Passport
Control Secondary (PCS) for further inspection.

In secondary, the DEFENDANT admitted the DSP-150 did not belong to him and further stated he recently
found the card in Ciudad Juarez. The DEFENDANT was found to be a citizen and national of Mexico not in
possession of any legal document with which to enter, reside, or seek employment in the United States. The
DEFENDANT was advised of his Miranda Rights, which he claimed to have understood and declined to
provide a statement without the benefit of counsel. Further record checks found the DEFENDANT was
previously voluntary removed to Mexico from the United States.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.




                                 CRIMINAL AND IMMIGRATION RECORD




CRIMINAL RECORD
None can be established at this time.

IMMIGRATION RECORD
Voluntary Removal to Mexico from the United States.
